            Case 2:18-cv-02255-VCF Document 105 Filed 06/24/22 Page 1 of 2



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 9
                                   UNITED STATES DISTRICT COURT
10                                      DISTRICT OF NEVADA
11
12    KRISTOPHER TUCKER                                       CASE NO.: 2:18-cv-02255-VCF
13                           Plaintiff,                       STIPULATION TO EXTEND TIME TO
14    vs.                                                     RESPOND TO DEFENDANT UNITED
                                                              STATES EX REL U.S. DEPARTMENT
15    UNITED STATES OF AMERICA ex rel U.S.                    OF VETERANS AFFAIRS MOTION TO
      DEPARTMENT OF VETERANS AFFAIRS                          PRECLUDE EVIDENCE OF DAMAGES
16
                                                              FOR MEDICAL SPECIALS PAID BY
17                           Defendant                        THE DEFENDANT DEPARTMENT OF
                                                              VETERANS AFFAIRS (ECF NO. 103)
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20
            Pursuant to Federal Rule of Civil Procedures, the parties, by and through their undersigned
21
22   counsel of record, hereby stipulate to extend the time for Plaintiffs to respond to Defendant United

23   States of America ex rel U.S. Department of Veterans Affairs Motion to Preclude Evidence of
24
     Damages for Medical Specials Paid by the Defendant Department of Veterans Affairs (ECF No. 103)
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     Plaintiffs’ response to Defendant’s Motion is currently due on July 1, 2022. The parties agree that
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     Plaintiffs shall have until July 30, 2022 to respond to Defendant United States of America ex rel U.S.
27
28   Department of Veterans Affairs Motion to Preclude Evidence of Damages for Medical Specials Paid

     by the Defendant Department of Veterans Affairs (ECF No. 103).
            Case 2:18-cv-02255-VCF Document 105 Filed 06/24/22 Page 2 of 2



 1          Currently, Plaintiffs counsels are unable to oppose to the Motion by July 1, 2022, due to other
 2
     scheduling conflicts. On June 26, 2022, lead counsel, Samantha A. Martin, Esq. flies to Europe until
 3
     July 10, 2022, at which time she will be unable to work on the opposition. After she returns home,
 4
     counsel has several other scheduling conflicts and oppositions due in other federal court matters which
 5
 6   will preclude her from working on this opposition. Based on the foregoing, the parties have agreed to
 7   a brief continuance.
 8
     DATED this 23rd day of June, 2022.        DATED this 23rd day of June, 2022.
 9
       RICHARD HARRIS LAW FIRM.                        JASON M. FRIERSON
10                                                     United States Attorney
11
       /s/ Samantha A. Martin                          /s/ Brianna Smith
12     ________________________________                ________________________________
       Samantha A. Martin, Esq.                        BRIANNA SMITH
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15     Attorneys for Plaintiffs                        Las Vegas, Nevada 89101
                                                       Attorneys for Defendant
16
17          IT IS SO ORDERED.

18
19
                    June 24, 2022
            DATED: _______________
20
21                                    ______________________________________
22                                    HONORABLE CAM FERENBACH
                                      UNITED STATES MAGISTRATE JUDGE
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